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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

Criminal Case No. 22-cr-00202-RM

UNITED STATES OF AMERICA,

                 Plaintiff,

v.

     1.        DHRUV JANI,
     2.        JAMES ALBERT WITTE, and
     3.        JASON LEE HENDERSON,

                 Defendants.

________________________________________________________________

                  GOVERNMENT'S MOTION TO DISCLOSE
               GRAND JURY MATERIALS UNDER SPECIFIED
            CONDITIONS TO THE ATTORNEYS FOR DEFENDANTS
                PURSUANT TO FED. R. CRIM. P. 6(e)(3)(E)(i)
_________________________________________________________________

          The UNITED STATES OF AMERICA, by and through Martha A. Paluch,

Assistant United States Attorney, respectfully moves this Court for an Order allowing the

government to disclose copies of the transcripts of testimony given by witnesses before

a grand jury during the investigation of this case, and the accompanying exhibits, to the

attorneys for the defendants under the conditions specified below. As grounds for this

motion, the government states:

          1.     During the course of the investigation which resulted in the Superseding

Indictment in this case, one or more witnesses testified before the grand jury.

          2.     Disclosure of grand jury material may be authorized pursuant to Rule

6(e)(3)(E)(i) of the Federal Rules of Criminal Procedure, which provides that, "The court

may authorize disclosure–at a time, in a manner, and subject to any other conditions
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that it directs–of a grand-jury matter: (i) preliminarily to or in connection with a judicial

proceeding . . . ."

       3.      This case is a "judicial proceeding" and the requested disclosure is "in

connection with" the proceeding.

       4.      Defense counsel has requested, and the government does not oppose,

the release of the grand jury material in this case.

       5.      The government's understanding is that the usual practice of defense

counsel in this district is not to provide the defendant with copies of grand jury materials,

but instead to orally review the contents of such materials with them. As the

government understands it, this practice flows from the concern, shared by the

government and based on past events in the district, that grand jury materials might

otherwise be improperly distributed by defendants. See United States v. Jimenez, 928

F.2d 356, 359-61 (10th Cir. 1991).

       6.      Because of the nature of the materials sought to be disclosed, the timing

of the contemplated disclosure, and the possibility of loss or dissemination of copies of

the grand jury materials, the government would request that the Court further order that:

               a.     Defense counsel make only such copies as are necessary to

prepare a defense of the criminal case;

               b.     Defense counsel keep a written record concerning how many

copies were made, to whom those copies were delivered, and the date of delivery, and

that defense counsel deliver a copy of any Order allowing disclosure with the materials;

               c.     Defense counsel provide the defendants with reasonable access to

the grand jury materials, but that defense counsel not allow the defendants to retain
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copies of any grand jury materials;

              d.     No person, other than defense counsel, make any copy of the

grand jury materials for any purpose; and

              e.     At the conclusion of the case in this Court, by entry of the Court's

judgment, defense counsel collect all such copies (with the exception of defense

counsel’s copy) and return them to the government within ten days or upon agreement,

shred said copies.

       THEREFORE, the Government requests that the Court enter an Order pursuant

to Rule 6(e)(3)(E)(i) allowing disclosure of a copy of the transcripts of testimony given

by any witnesses before the grand jury, and accompanying exhibits, to the attorneys for

the defendants on the conditions described above.



       Dated this 15th day of August, 2022.

                                                 COLE FINEGAN
                                                 United States Attorney


                                                 By: _Martha A. Paluch______
                                                 MARTHA A. PALUCH
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                                CERTIFICATE OF SERVICE

       I certify that on this 15th day of August, 2022, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system that will send notification of such

filing to all counsel of record in this case.



                                                          s/Stephanie Price
                                                          Stephanie Price
                                                          Legal Assistant
